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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

JOSEPH JASKIEWICZ,

      Plaintiff,
                                                   CASE NO.:
v.

TARGET CORPORATION and
UNKNOWN STORE MANAGER,

      Defendants.
                               /


             DEFENDANT, TARGET CORPORATION’S
     NOTICE OF REMOVAL TO UNITED STATES DISTRICT COURT

      Defendant, TARGET CORPORATION (hereinafter, “Defendant” or

“Target”), by and through its undersigned counsel and pursuant to 28 U.S.C. §§

1332, 1441, and 1446 and Local Rule 1.06, hereby removes this action from the

Circuit Court for the Sixth Judicial Circuit, in and for Pinellas, Florida, to the

United States District Court for the Middle District of Florida, Tampa Division, on

the following grounds:

                                   BACKGROUND

      1.     On or about March 29, 2022 Joseph Jaskiewicz (“Plaintiff”) filed a

Complaint against Target Corporation and Unknown Store Manager in the Circuit

Court of the Sixth Judicial Circuit in and for Pinellas County, Florida, captioned

JOSEPH JASKIEWICZ vs. TARGET CORPORATION and UNKNOWN STORE

MANAGER, Case Number 22-001446-CI (“Complaint”).

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      2.     On April 4, 2022, Plaintiff served the Summons and the Complaint on

Target through its agent for service of process.

      3.     Target is not required to obtain Defendant Unknown Store Manager’s

consent for this removal because Unknown Store Manager is a fictitious-name

defendant who has not been served. See Laposa v. Walmart Stores E. LP,

220CV182FTM29NPM, 2020 WL 2301446, at *2 (M.D. Fla. May 8, 2020).

      4.     There is jurisdiction over this removed action pursuant to 28 U.S.C. §

1441, because this action originally could have been filed in this Court pursuant to

28 U.S.C. § 1332. Specifically, this Court has jurisdiction over this action because

there is the requisite diversity of citizenship between the Plaintiff and Defendant,

and the amount in controversy exceeds $75,000.00, exclusive of interest and costs.

                            AMOUNT IN CONTROVERSY

      5.     The amount in controversy in this action exceeds the sum or value of

$75,000, exclusive of interest and costs.

      6.     Plaintiff alleges that this is an action for damages in excess of Thirty

Thousand Dollars ($30,000.00), exclusive of costs, interest and attorneys’ fees.

(Complaint at ¶1). Plaintiff alleges that he

      suffered bodily injury resulting in pain and suffering, disability,
      disfigurement, permanent and significant scarring, mental anguish, loss of
      the capacity for the enjoyment of life, expense of hospitalization, medical
      and nursing care and treatment, loss of earning, loss of the ability to earn
      money, and aggravation of previously existing condition. The losses are
      either permanent or continuing and Plaintiff will suffer the losses in the
      future.

(Complaint at ¶ 12).


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      7.    In pre-suit correspondence, Plaintiff’s Counsel set forth Plaintiff’s

alleged medical costs as follows:

       Medical Provider                                        Total Billed

       St. Anthony’s Hospital                                  $50,635.82

       All Florida Orthopedics                                 $23,830.00

       Westcoast Hospitalists, LLC                             $415.00

       Bayside Emergency Physicians                            $5,026.00

       BayCare Medical Group (Allendale Primary Care) $691.00

       Total                                                   $80,597.82


      8.    Plaintiff’s counsel, based on Plaintiff’s purported medical treatment

and related costs, made a pre-suit demand of $575,000.

      9.    Plaintiff was admitted to St. Anthony’s Hospital and underwent an

open reduction and internal fixation surgery of his left arm for a humerus fracture.

      10.   Plaintiff also underwent a closed reduction for a dislocated shoulder

and needed stitches for a lacerated finger on the left hand.

      11.   In addition, Plaintiff had at least 32 physical therapy treatments.

      12.   A defendant’s notice of removal may assert the amount in controversy

if the complaint seeks (a) non-monetary relief or (b) a money judgment and the

State practice permits recovery in excess of the amount demanded. 28 U.S.C. §

1446(c)(2)(A)(ii). As the Supreme Court has held, the notice “need only include a

plausible allegation that the amount in controversy exceeds the jurisdictional


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threshold.” Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547, 554

(2014); see also Mangano v. Garden Fresh Restaurant Corp., Case No. 2:15-cv-

477-FtM-99MRM, 2015 WL 5953346, at *1 (M.D. Fla. Oct. 13, 2015) (“A Notice of

Removal must plausibly allege the jurisdictional amount, not prove the amount.”)

(citing Dart, 135 S. Ct. at 554). The defendant need not provide any evidence

establishing the amount in controversy unless and until the plaintiff contests, or

the Court questions, the defendant’s allegation as to the amount in controversy.

Dart, 135 S. Ct. at 554. Although Plaintiff has not alleged in the Complaint that the

amount in controversy exceeds $75,000.00, the Court is entitled to rely on its

judicial experience and common sense in determining that a cause of action is

likely to exceed $75,000.00 and therefore meets the jurisdictional limits of the

Court. Defendant’s allegations to establish jurisdiction can be “combined with

reasonable deductions, reasonable inferences, or other reasonable extrapolations.”

Pretka v. Kolter City Plaza Two, Inc., 608 F.3d 744, 754 (11th Cir. 2010).

Defendant is not required to prove the amount in controversy beyond all doubt or

to banish all uncertainty about it. Id.

      13.    “[T]he district court must determine whether it had subject matter

jurisdiction at the time of removal. That is, events occurring after removal which

may reduce the damages recoverable below the amount in controversy

requirement do not oust the district court’s jurisdiction.” Poore v. Am.-Amicable

Life Ins. Co. of Texas, 218 F.3d 1287, 1290-91 (11th Cir. 2000) (overruled in part

on other grounds). “It therefore logically follows that subject matter jurisdiction is

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not defeated simply because the parties might anticipate a future reduction in

recoverable damages.” Henry v. K-Mart Corp., No. 8:10-CV-2105-T-33MAP, 2010

WL 5113558, at *4 (M.D. Fla. Dec. 9, 2010) (“Because Henry is, at the time of

removal, entitled to seek $78,856.64 in medical expenses (regardless of a future

set off), K–Mart has met its burden in establishing the required amount in

controversy for federal subject matter jurisdiction. Therefore, the Court denies the

motion to remand.”).

      14.   “Where, as here, the plaintiff has not pled a specific amount of

damages, the removing defendant must prove by a preponderance of the evidence

that the amount in controversy exceeds the jurisdictional requirement.” Williams

v. Best Buy Co., 269 F.3d 1316, 1319 (11th Cir. 2001).

      15.   Taken together, damages alleged in Plaintiff Complaint along with

Plaintiff’s alleged injuries and medical bills establish, by a preponderance of the

evidence, that the amount in controversy in this action exceeds the sum or value of

$75,000, exclusive of interest and costs and pursuant to 28 U.S.C § 1332(a).

                           DIVERSITY OF CITIZENSHIP

      16.   The matter in controversy is between citizens of different states.

      17.   Upon information and belief, Plaintiff is a citizen of the State of

Florida. For diversity purposes, citizenship is equivalent to “domicile.” McCormick

v. Aderholt, 293 F.3d 1254, 1257 (11th Cir. 2002). “A person’s domicile is the place

of his true, fixed, and permanent home and principal establishment, and to which

he has the intention of returning whenever he is absent therefrom.” Id. at 1257-58.

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See also Diller v. Heartland AG Group of Springfield, Inc., 5:10-CV-672-OC-

34TBS, 2011 WL 13295824, at *3 (M.D. Fla. Sept. 28, 2011). To discern intent, the

Court may consider factors including “home ownership, driver’s license, voting

registration, location of family, location of business and where taxes are paid.”

Turner v. Penn. Lumbermen’s Mut. Fire Ins. Co., No. 3:07-cv-374-J-32TEM, 2007

WL 3104930, at *4 (M.D. Fla. Oct. 22, 2007); see Juvelis v. Snider, 68 F.3d 648,

654 (3d Cir. 1995) (“Persuasive evidence of intent can include establishment of a

home, place of employment, location of assets, and registration of car, and,

generally, centering one’s business, domestic, social, and civic life in a

jurisdiction.”); see also McCormick, 293 F.3d at 1258. Plaintiff alleges that he is a

“natural person residing in Pinellas County, Florida.” (Complaint, at ¶2).

      18.    Target is a citizen of Minnesota. Specifically, Target is incorporated in

Minnesota, and its principal place of business is in Minneapolis, Minnesota.

      19.    The citizenship of Unknown Store Manager is disregarded for removal

purposes. See 28 U.S.C. § 1441(b)(1) (“the citizenship of defendants sued under

fictitious names shall be disregarded”). Target may ultimately argue that Unknown

Store Manager is fraudulently joined, but because the citizenship of Unknown

Store Manager is disregarded for removal purposes, this “obviates the need to

consider fraudulent joinder at the removal stage of the proceedings.” Laposa, 2020

WL 2301446, at *1.

      20.    Complete diversity of citizenship exists because Plaintiff is not a

citizen of the same state as Defendant, and the citizenship of “Unknown Store

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Manager” is disregarded. Accordingly, this Court has jurisdiction pursuant to 28

U.S.C. § 1332(a).

                            PROCEDURAL COMPLIANCE

      21.    This Court has original jurisdiction of this civil action because the

matter in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs, and is between citizens of different States. See 28 U.S.C. § 1332(a)(1).

      22.    This Notice of Removal is timely because it was filed within 30 days

after receiving the initial pleading setting forth the claim for relief upon which this

action is based. See 28 U.S.C. § 1446(b).

      23.    Removal to the Tampa Division of this Court is appropriate under

Local Rules 1.04(a) because the action was filed in Pinellas County, Florida.

      24.    As required by 28 U.S.C. § 1446(a) and Local Rule 1.06(b), true and

correct copies of all of the process, pleadings, orders and papers on file with the

State Court in this action are attached hereto “Composite Exhibit A.”

      25.    Pursuant to 28 U.S.C. § 1446(d), notice of this Notice of Removal is

being provided to Plaintiff and the State Court Clerk contemporaneously with the

filing of this Notice of Removal with this Court.



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        WHEREFORE, Defendant, TARGET CORPORATION, by and through

its undersigned counsel, respectfully notices the removal of this action now

pending against it in the Circuit Court of the Sixth Judicial Circuit in and for

Pinellas County, Florida, Case No. 22-001446-CI to the United States District

Court for the Middle District of Florida, Tampa Division.

                                     Respectfully submitted,

                                     HILL WARD HENDERSON

                                     /s/Cory J. Person____________________
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                                     ATTORNEYS FOR DEFENDANT,
                                     TARGET CORPORATION


                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has
been furnished via CM/ECF JOSEPH A. KOPACZ, ESQUIRE, Attorney for
Plaintiff at jkopacz@forthepeople.com and dknetzer@forthepeople.com on May
3, 2022.


                                     /s/Cory J. Person______________________
                                     HILL WARD HENDERSON
                                     ATTORNEYS FOR DEFENDANT,
                                     TARGET CORPORATION




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